Case 2:05-cr-20228-SH|\/| Document 11 Filed 07/18/05 Page 1 of 2 Page|D 9

1N THE UNITED srATEs DISTRICT CoURT “ ._ _'
FoR THE WESTERN DISTRICT oF TENNESSEE mm E' /m~(- D'C'

WESTERN DIVISION 05 JUL |8 PH 5. l2

UNITED STATES OF AMERICA

 

V. 05-20228-Ma

ANTONIO PEGUES

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on Q»\ j fm /§,, ga 05, the United States Attorney

for this district appeared on behalf of the gW/trenimeél, and the defendant appeared in person and with
counsel:

NAME m d ¥M,(/l/l/V f»*\ who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, rnay stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Ma.rshal.

»@vwi/w /Z~ %A/W/“

UNITED STATES MAGISTRATE JU`DGE

CHARGES: 18:922;

U. S. Attorney assigned to Case: E. Gilluly

Age: 2 /)

Th':s doetment entered on the docket sheet in compilatan-
with R.\|e 55 andfor 32¢bt FRCrP on "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20228 Was distributed by faX, mail, or direct printing on
.luly 20, 2005 to the parties listedl

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

